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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS

 BEHAVIOR ANALYST CERTIFICATION                        )
 BOARD, INC.,                                          )
                                                       )
                Plaintiff,                             )
 v.                                                    ) Civil Action No. 4:23-cv-00194-ALM
                                                       )
 MICHAEL MOATES, an individual;                        )
 MISTY KIESCHNICK, an individual; and                  )
 THE GLOBAL INSTITUTE OF BEHAVIORAL                    )
 PRACTITIONERS AND EXAMINERS,                          )
                                                       )
                Defendants.                            )


      PLAINTIFF’S RESPONSE AND MOTION TO STRIKE DEFENDANT MICHAEL
      MOATES’ MOTION TO DISMISS FOR FAILURE TO SERVE AND DEFENDANT
       MICHAEL MOATES’ REPLY TO THE MOTION FOR DEFAULT JUDGMENT


        Plaintiff, the Behavior Analyst Certification Board, Inc. (“the BACB”), by and through its

attorneys, submits its Response and Motion to Strike Defendant Michael Moates’ (“Moates”)

Motion to Dismiss for Failure to Serve and Defendant Moates’ Reply to the Motion for Default

Judgment and, as such, states the following:

                                       INTRODUCTION

        Defendant Moates having failed to serve or file an Answer or responsive pleading to the

Complaint within the time period required by F.R.C.P. 12(a)(1) has now filed a Motion to Dismiss

claiming insufficient service of process only after Plaintiff filed a Request for Clerk’s Entry of

Default (Dkt. 36). Plaintiff opposes the Motion, as Moates has 1) failed to prove insufficient

service of process; 2) failed to seek an extension of time from the court for his untimely motion;

and 3) failed to provide any evidence of excusable neglect.
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       Defendant Moates’ Motion to Dismiss makes no mention of Defendant The Global

Institute of Behavioral Practitioners and Examiners (“GIBPE”) and is silent as to any contentions

of service of process upon GIBPE. Therefore, GIBPE has failed to answer or otherwise defend

and remains in default.

       Plaintiff moves this Court to enter an Order 1) striking Moates’ Motion to Dismiss (Dkt.

37) at untimely; 2) granting Plaintiff’s Request for Clerk’s Entry of Default (Dkt. 36) against

Defendants Moates and GIBPE; 3) awarding attorney fees and costs; and 4) for such further relief

this Court deems just and proper.

                                    FACTUAL BACKGROUND

       Defendants Moates and GIBPE are well-aware of this lawsuit. Despite the fact that the

Plaintiff has now successfully served these Defendants by numerous methods, Defendants have

chosen to play games with the judicial process, which has wasted both the Plaintiff’s and the

Court’s time and resources. This behavior should not be rewarded.

       Plaintiff incorporates by reference the facts and sequence of events described in Paragraphs

3 through 10 of Plaintiff’s Request for Clerk’s Entry of Default (Dkt. 36).

       1.      On April 14, 2022 Plaintiff filed a lawsuit against Defendants in the District Court

of Jefferson County, Colorado; Case # 22CV30428. Moates waived service both individually and

as the Registered Agent for GIBPE. (Ex. 1) Through counsel, Defendants removed the action to

federal court (Civil Action # 1:22-cv-01247). Defendants filed a Motion to Dismiss for Lack of

Personal Jurisdiction and successfully argued that Colorado was not the proper jurisdiction for this

lawsuit.




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       2.      Over five months ago, on March 10, 2023, Plaintiff filed this lawsuit. Now that

this lawsuit has been filed in Texas, as Moates preferred, Moates has played games in attempt to

prevent this litigation from moving forward.

       3.      It is clear that Moates has been aware of this lawsuit since shortly after Defendant

Misty Kieschnick – Moates’ mother – was served. On March 23, 2023, Ms. Kieschnick filed a

Motion for Extension to File Response to Plaintiff’s Petition (Dkt. 9). The motion’s envelope (Dkt.

9-1) has the following return address:

               Michael Moates
               5764 N. Orange Blossom Trl PMG 61546
               Orlando, FL 32810

Moates therefore mailed Ms. Kieschnick’s motion to the court.

       4.      Because Moates had previously waived service on his and GIBPE’s behalf, on five

occasions, from March 27, 2023 through April 6, 2023, Plaintiff’s counsel sent emails to Moates’

known email addresses including:

                  michaelsmoates@gmail.com
                  mmoates@email.fielding.edu
                  m.moates@att.net (returned undeliverable)
                  mike@qbswb.com
                  mike@cpmht.com

(Ex. 2) Each email contained the Complaint, Summons, Waiver for Moates, and Waiver for

GIBPE.

       5.      From April 27, 2023 through May 5, 2023, a process server made three

unsuccessful attempts to serve Moates at his current address. Each time there was evidence that

Moates was home and either refusing to answer the door or actively evading service.




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                  04/27/23: Leasing confirmed subject lives here and that he was difficult
                   to work with. She said he was home because his vehicle was parked
                   outside. Knocked and rang bell multiple times, no answer. Left card on
                   door. Subject vehicle present.

                  04/28/23: Card from last visit gone, knocked and rang bell, no answer.
                   Left card on door. Subject vehicle present.

                  05/05/23: Approx 6:30 pm an uber eats dropped off food at the subjects
                   door. I proceeded to the front door and waited. I then noticed he had a
                   ring camera and a peep hole. I covered them up and waited by the steps.

                  05/05/23 Approx at 7:15 pm the subject came out to the patio to check
                   to see if I had left. He saw me and I saw him and recognized him by his
                   photo but then he hurried inside before I can say his name or drop serve
                   him by throwing the papers onto the patio.

(Ex. 3)

          6.   On May 19, 2023 a separate service on GIBPE was completed upon Ms. Kieschnick

as a director of GIBPE. (See Affidavit of Service, Dkt. 25) Moates’ emailed counsel for Plaintiff

on May 22, 2023 stating, “Ms. Kieschnick is no longer with the institute and cannot accept service

on behalf of it. Thus, service to her a few days ago is invalid.” (Ex. 4) Again, this email

demonstrates Moates was well aware of this lawsuit.

          7.   On May 22, 2023, Moates was successfully served individually and on behalf of

GIBPE. A video of the service is produced herein as Ex. 5. Screenshots from the video are marked

as Ex. 6. The screenshots illustrate the following:

                  Page 1: shows a sunny day with no signs of standing water.
                  Page 2: shows the binder clip holding 82 pages of paper (service packets
                   to Moates and GIBPE).
                  Page 3: shows Moates attempting to evade service and running into his
                   apartment. No evidence of standing water.
                  Page 4: shows the papers flying through the air.
                  Page 5: shows Moates made it inside the apartment and his dog
                   following behind.


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        8.       Moates also provided photographs from his Ring doorbell. (Ex. 7) These

photographs show Moates running away from the process server and entering his apartment as the

papers flew through the air.

        9.       Shortly after service, Moates called Plaintiff’s counsel, Lindsay McManus,

claiming that that the documents got in a bunch of water and thus cannot be read. However, the

papers must have been legible enough to see Ms. McManus’ phone number.

        10.      That same day, Moates sent three emails from mike@cpmht.com to counsel for

Plaintiff, which included the following statements:

                    I have a video recording, and you can hear the thump from the metal
                     hitting the wall…
                    I am willing to work toward an agreement that all parties can be happy
                     with.
                    But lucky for you, mLocal (sic) Rules permit this: (G) be sent by first-
                     class mail or other reliable means. You have my approval. At which
                     point, I will waive service upon arrival.
                    …he threw the documents at me and said you have been served.
                    I look forward to being served via postal mail.

(Ex. 8; p. 2, 4, 7, 8, 9).

        11.      On May 23, 2023 Plaintiff’s counsel sent an email to mike@cpmht.com

transmitting the following:

                    Case Docket
                    Complaint
                    Summons to Moates
                    Summons to GIBPE
                    Affidavit of Service upon GIBPE on 05/19/23
                    Affidavit of Service upon GIBPE on 05/22/23
                    Affidavit of Service upon Moates on 05/22/23
                    Magistrate Consent Form
                    Copy of email sent to mike@cpmht.com on 04/06/23
                    Waiver of Service for Moates


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(Ex. 9)

          12.   Within the hour Moates sent another email from mike@cpmht.com making the

below statements:

                   I will not be signing your waiver. … I don't consent to service by email.
                   I will not return [the waiver] until a copy has been mailed to me.
                   Until a hard copy is sent to me... I consider the service to not be
                    completed.

(Ex. 10)

          13.   In attempt to avoid a lengthy argument about the validity of service, Plaintiff sent

service packets1 to Moates and GIBPE via UPS Overnight and Certified Mail. The UPS package

was delivered to the leasing office on May 30, 2023. (Ex. 11) The Certified Mail was delivered

directly to Moates on May 30, 2023. (Ex. 12)

          14.   Moates is a frequent litigant. From 2020 to 2023, Moates has been a plaintiff in ten

(10) cases and a defendant in three (3) cases filed in federal court alone. One case was filed by

Moates on July 25, 2023 -- four months after the commencement of this lawsuit . (Ex. 13)

          15.   In each federal court lawsuit besides this one, Moates provides an email address in

his signature block and/or explicitly consents to receiving service via email. The email addresses

used are among those used by Plaintiff’s counsel as described above in the paragraph 4, including:

mike@cpmht.com, which is the same email Moates has used to correspond with the undersigned

in this case and the same email on the signature block for Moates’ Motion to Dismiss for Failure

to Serve and Reply to the Motion for Default Judgment (Dkt. 37).



1
 Each service packet contained a copy of the Complaint, Summons, and Waiver directed to Moates
and GIBPE.


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        16.      Plaintiff also believes that Moates is a registered ECF user. Moates has received

Instructions to a Non-Prisoner Pro Se Plaintiff in no less than three cases. (Ex. 14)

        17.      On August 2, 2023, Plaintiff filed a Request for Clerk’s Entry of Default (Dkt. 36).

This Request was served upon Moates and GIBPE by email at mike@cpmht.com and first class

mail at 4501 Nautilus Circle #710, Fort Worth, Texas 76106.

        18.      Faced with an entry of default, on August 3, 2023, Moates made an appearance in

this case and filed a Motion to Dismiss for Failure to Serve and Reply to the Motion for Default

Judgment (Dkt. 37). The email and mailing addresses within Moates’ signature block in this filing

are consistent with the addresses used for service of the Complaint and service of the Request for

Clerk’s Entry of Default. The fact that Moates was able to receive, review, and respond to

Plaintiff’s Request for Clerk’s Entry of Default within 24 hours indicates that Moates successfully

received Plaintiff’s pleading via email rather than USPS First Class Mail, which takes one to five

business days for delivery. (www.usps.com)

                                           ARGUMENT

   I.         Defendants Moates and GIBPE Have Been Served.

        Plaintiff incorporates by reference the facts and sequence of events described in Paragraphs

3 through 10 of Plaintiff’s Request for Clerk’s Entry of Default (Dkt. 36).

        The extensive factual background provided above conclusively proves that Defendants

Moates and GIBPE are not only aware of this lawsuit, but have been served in countless ways by

Plaintiff. Pursuant to F.R.C.P. 4(d), Defendants Moates and GIBPE have a “duty to avoid

unnecessary expenses of serving the summons.” Defendants Moates and GIBPE have fallen far

short of this duty, causing Plaintiff to incur great expense in attempt to serve all defendants.



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   II.       Defendant Moates’ Motion to Dismiss is Untimely

          As demonstrated in the above factual background, at the earliest, Moates was served on

May 22, 2023 and, at the latest, Moates was served on May 30, 2023. Using the latter date, Moates’

answer or responsive pleading was due by June 20, 2023.

          Rule 6(b)(1) specifically states that:

             "When an act may or must be done within a specified time, the court may, for
             good cause, extend the time:
             …
             (B) on motion made after the time has expired if the party failed to act because
             of excusable neglect.

          Moates failed to seek leave of court allowing the submission of a responsive pleading after

the deadline. The Motion to Dismiss was filed 44 days after the deadline under F.R.C.P. 12(a)(1).

In Canup v. Mississippi Val. Barge Line Co., 31 F.R.D. 282 (W.D. Pa. 1962), the court stated that

“a party may seek an extension, but when he fails to do so, and gives no excuse for his delay

beyond twenty days, except inadvertence, the other party may be entitled to an entry of default.”

          Defendant Moates chose to roll the dice and play games with the judicial process in

deciding not to file an answer or a responsive pleading within the appropriate court mandated time

frame. Moates could have even filed the present motion within the requisite timeframe, but failed

to do so. It was not until Moates was faced with an entry of default that he decided to respond.

   III.      Defendant Moates Has Failed to Demonstrate Excusable Neglect

          Despite the fact that Moates did not request an extension of time under Rule 6 in which to

file his Motion to Dismiss, Moates would still need to demonstrate that his failure to act was

excusable neglect. Moates has done no such thing.




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       Four factors are considered in determining whether neglect is excusable, including (1) the

danger of prejudice to the other party, (2) the length of the delay and its potential impact on judicial

proceedings, (3) the reason for the delay, including whether it was within the reasonable control

of the movant, and (4) whether the movant acted in good faith. Pioneer Inv. Servs. Co. v. Brunswick

Assocs. Ltd. P'ship, 507 U.S. 380, 395 (1993). Excusable neglect “covers cases of negligence,

carelessness, and inadvertent mistake.” Bateman v. U.S. Postal Serv., 231 F.3d 1220, 1224 (9th

Cir. 2000) (internal citation omitted). “The determination of “what sorts of neglect will be

considered ‘excusable’ ... is at bottom an equitable one, taking account of all relevant

circumstances surrounding the party's omission.” Pioneer, 507 U.S. at 395.

               A. The Danger of Prejudice to Plaintiff

       Plaintiff has been actively pursuing its claims against Defendants for 16 months.

Defendants have made every attempt to thwart Plaintiff’s lawsuit thus preventing Plaintiff’s

attempts to seek justice. Defendants have been actively and publicly attempting to tarnish

Plaintiff’s reputation by promulgating and perpetuating falsehoods about Plaintiff – both through

public media outlets and through litigation by the many cases filed by Moates. The longer

Defendants are allowed to delay legitimate court processes, the longer Plaintiff’s reputation is

injured without recourse.

               B. The Length of The Delay and Its Potential Impact on Judicial Proceedings

        The delay that Plaintiff has experienced is extreme and ongoing. Plaintiff has spent many

thousands of dollars in attorney fees and costs in attempt to litigate this case. After 16 months,

Defendants and witnesses have moved and/or changed jobs; officers and directors of GIBPE have




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moved out of state; memories fade; evidence is not properly preserved; and Defendants continue

their defamation crusade against Plaintiff.

                 C. The Reason for The Delay, Including Whether It Was Within The
                    Reasonable Control of The Movant

          The reason for Moates’ delay with filing a Motion to Dismiss was fully intentional and

under his reasonable control. Evidence shows that Moates has remained informed about this

lawsuit but has chosen to remain silent until faced with the risk of entry of default.

                 D. Whether The Movant Acted In Good Faith

          Moates’ actions have not been in good faith. Rather, he attempts to side step and ignore

the court system by pretending that he is uninformed and has not been served. Moates agreed to

sign a waiver if the Complaint and Summons were mailed to his residence. When Plaintiff

complied with his requests (despite service having already been achieved), he promptly reneged

and fell silent. As a frequent litigant, Moates is familiar with the Rules of Civil Procedure and has

intentionally ignored his obligations. Such gamesmanship should not be rewarded.

    IV.      GIBPE Remains in Default

          The factual background establishes that GIBPE was served no less than three times.2 At

the latest, GIBPE’s answer or responsive pleading was due no later than June 20, 2023.

          Moates cannot argue that his Motion to Dismiss, as a pro se litigant, was also meant address

the service of process upon GIBPE. In fact, his Motion to Dismiss does not address service of

GIBPE at all. Appearances filed in the federal courts are governed by 28 U.S.C.A. § 1654. Cases

involving 28 U.S.C.A. § 1654 hold that corporations may not appear pro se in the federal court. A


2
 First, on May 19, 2023, see Affidavit of Service (Dkt. 25). Second, on May 22, 2023, see
Affidavit of Service (Dkt. 19). Third, on May 30, 2023, see Ex. 12.


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corporation cannot represent itself pro se even where the corporation has one shareholder who is

also the president. This is so even where the corporation cannot afford counsel. See, e.g.,

Southwest Exp. Co. v. I. C. C., 670 F.2d 53, 56 (5th Cir. 1982) (“a corporation, cannot appear in

proper person as a corporation or through its corporate officer, under settled interpretations

applicable to 28 U.S.C. s 1654. It can enter an appearance in this court only through an attorney

admitted to practice before this court.”) (emphasis added).

       To date, GIBPE has failed to make an appearance or file a responsive pleading in this

action. “The defendant corporation's failure to … secure counsel constitutes a failure to defend

and will subject the party to a default judgment.” Bravado Intern. Group Merchandising Services,

Inc. v. Ninna, Inc., 655 F. Supp. 2d 177 (E.D. N.Y. 2009); see also Citadel Commerce Corp. v

Cook Sys., Inc., 2009 WL 1515736, at *1 (M.D. Fla. 2009) (“Entry of default is a proper sanction

for a defendant corporation’s failure to obtain counsel.”). Therefore, GIBPE has failed to answer

or otherwise defend and remains in default.

       WHEREFORE, Plaintiff respectfully requests that this Court to enter an Order 1) striking

Moates’ Motion to Dismiss (Dkt. 37) as untimely; 2) granting Plaintiff’s Request for Clerk’s Entry

of Default (Dkt. 36) against Defendants Moates and GIBPE; 3) awarding attorney fees and costs;

and 4) for such further relief this Court deems just and proper.




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       Respectfully submitted this 24th day of August, 2023.

                                             HALL, RENDER, KILLIAN, HEATH & LYMAN, P.C.

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                                             bkulwicki@hallrender.com

                                             ATTORNEYS FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE

       The undersigned certifies that on August 24, 2023, a true and correct copy of the foregoing
was served upon the following:

Misty Kieschnick
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m.kieschnick@att.net
Defendant – pro se

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                                             s/ Mark L. Sabey
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